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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

             Plaintiff,                         C.A. No. 2:23-cv-00589-JRG-RSP

       v.                                       JURY TRIAL DEMANDED

 DEXCOM, INC.,

             Defendant.

       DEXCOM, INC.’S MOTION TO DISMISS PURSUANT TO RULE 12(B)(3)
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        Plaintiff’s Complaint fails to establish that venue is proper in this District. Under TC

 Heartland LLC v. Kraft Foods Group Brands LLC, venue in a patent case is only proper in a district

 where: (1) the defendant resides, or (2) the defendant has a regular and established place of

 business and has committed acts of infringement. 137 S. Ct. 1514 (2017). Yet Plaintiff’s Complaint

 does not allege that any of these conditions are met. Instead, Plaintiff alleges that “Venue is proper

 in this State and convenient as Dexcom has asserted its own patent rights recently in this State

 against one of its continuous glucose monitoring system competitors, named Abbott Laboratories.”

 (Cmplt. at ¶ 5). But merely filing a lawsuit in Texas does not subject a defendant to venue in every

 district in the state, nor does Plaintiff identify any law supporting such a sweeping conclusion.

 Indeed, “the date the suit was filed, is the relevant date for the venue analysis,” and “[e]vents

 occurring prior to the filing of suit are irrelevant except to the extent they could logically help

 prove a continuous presence” in a district. Pers. Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922,

 931 (E.D. Tex. 2017).

        Dexcom thus respectfully requests dismissal of Plaintiff’s Complaint for improper venue.

 In the alternative, Dexcom respectfully requests that the Court transfer this action to the Southern

 District of California, where Dexcom maintains its headquarters. See 28 U.S.C. § 1406(a).

 I.     STATEMENT OF ISSUES

        1)      Whether this case should be dismissed for improper venue because Dexcom does

 not reside in this District, have a regular and established place of business in this District, or

 commit the alleged acts of infringement in this District.

        2)      Whether the Court should dismiss this case or transfer it to the Southern District of

 California, where venue is proper.

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 II.     FACTS

         Dexcom is a Delaware Company and has its principal place of business at 6340 Sequence

 Drive, San Diego, California 92121. (Declaration of Dolores Sexton (“Sexton Decl.”) at ¶ 5).

 Dexcom does not have any physical place of business in this District. (Id. at ¶ 6).

         On December 12, 2023 Plaintiff filed its Complaint alleging infringement of U.S. Patent

 No. 8,671,195 (the “’195 Patent”). (Compl. at ¶ 18). Plaintiff alleges that Dexcom’s G5, G6, and

 G7 Continuous Glucose Monitoring (CGM) Systems (the “Accused Products”) directly infringe

 one or more of the claims of the ’195 Patent. (Id. at ¶ 14). Plaintiff acknowledges that Dexcom is

 a Delaware corporation with a principal place of business at 6340 Sequence Drive, San Diego,

 California 92121. (Id. at ¶ 2). Nevertheless, Plaintiff’s Complaint asserts that venue is proper in

 this District merely because Dexcom filed an unrelated lawsuit in a different district in Texas. (Id.

 at ¶ 5). Plaintiff does not provide any other justification for asserting venue is proper in this

 District.


 III.    LEGAL STANDARD AND APPLICABLE LAW

         In a patent case, venue is proper “[1] in the judicial district where the defendant resides, or

 [2] where the defendant has committed acts of infringement and has a regular and established place

 of business.” 28 U.S.C. § 1400(b); TC Heartland, 137 S. Ct. at 1514.

         When applied to domestic corporations, the first prong of section §1400(b)—where the

 defendant resides—“refers only to the State of incorporation.” Id. at 1521 (emphasis added).

         To qualify as “a regular and established place of business” under the second prong of

 Section 1400(b), “(1) there must be a physical place in the district; (2) it must be a regular and

 established place of business; and (3) it must be the place of the defendant.” In re Cray Inc., 871

 F.3d 1355, 1360 (Fed. Cir. 2017). All three factors must be met. Id.


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        Finally, even if a defendant has a regular and established place of business in the district,

 it must still have committed acts of infringement in the district. TC Heartland, 137 S. Ct. at 1514.

 For a system claim, like the one at issue here, an infringing use of a claimed system occurs at “the

 place at which the system as a whole is put into service, i.e., the place where control of the system

 is exercised and beneficial use of the system obtained.” Intell. Ventures I LLC v. Motorola Mobility

 LLC, 870 F.3d 1320, 1328 (Fed. Cir. 2017).

        Once a defendant raises a Rule 12(b)(3) motion to dismiss for improper venue, the burden

 of proving whether venue is appropriate shifts to plaintiff. In re ZTE (USA) Inc., 890 F.3d 1008,

 1013 (Fed. Cir. 2018). If venue is improper under Section 1400(b), the Court “shall dismiss, or if

 it be in the interest of justice, transfer such case to any district or division in which it could have

 been brought.” 28 U.S.C. § 1406(a).

 IV.    ARGUMENT

        Venue is improper in this District under either prong of § 1400(b). Dexcom does not

 “reside” in this District under the first prong of § 1400(b) because Dexcom is a Delaware

 Corporation. The second prong fares no better, as Dexcom does not have any place of business in

 this District and because Dexcom did not perform the alleged acts of infringement in this District.

 Dexcom therefore respectfully requests that the Court dismiss this case.

        A.      Dexcom Does Not “Reside” in the Eastern District of Texas

        Dexcom does not reside in this District for the purposes of the first prong of § 1400(b).

 Indeed, Plaintiff admits that Dexcom is incorporated in Delaware. (Cmplt. at ¶ 2). As such,

 Dexcom only resides in Delaware. See TC Heartland, 137 S. Ct. at 1521 (“the word ‘reside[nce]’

 in §1400(b) has a particular meaning as applied to domestic corporations: It refers only to the State

 of incorporation.”).


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        B.      Dexcom Has No “Regular and Established Place of Business” in the Western
                District of Texas

        Dexcom has no “regular and established place of business” in this District for the purposes

 of the second prong of § 1400(b). The Federal Circuit has held that for a defendant to have “a

 ‘regular and established place of business’ in a certain district within the meaning of 1400(b),”

 three conditions must be true: “(1) there must be a physical place in the district; (2) it must be a

 regular and established place of business; and (3) it must be the place of the defendant.” In re Cray

 Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017). Importantly, “[i]f any statutory requirement is not

 satisfied, venue is improper under § 1400(b).” Id. Dexcom does not have any physical place in this

 District, let alone a regular and established place of business. (Sexton Decl. at ¶ 6).

        Plaintiff does not allege that Dexcom has a regular and established place of business in this

 District. Instead, Plaintiff alleges that “Defendant transacts business within this District and has

 employees that live and work in this District.” (Compl. at ¶ 6). But these facts are insufficient to

 establish venue under the test outlined above, which requires a physical place of the defendant—

 not just employees who live and work in a district. In re Cray, 871 F.3d at 1365 (“[I]t is of no

 moment that an employee may permanently reside at a place or intend to conduct his or her

 business from that place for present and future employers. ‘The statute clearly requires that venue

 be laid where the defendant has a regular and established place of business, not where the

 defendant’s employee owns a home in which he carries on some of the work that he does for the

 defendant.’”). Dismissal is thus warranted.

        C.      No Alleged Acts of Infringement Could Have Occurred in the Eastern
                District

        Besides failing the second prong of § 1400(b) because Dexcom does not have a regular and

 established place of business in this District, venue is also improper under the second prong

 because Dexcom did not commit the alleged acts of infringement in this District. Indeed, the claim

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 charts attached to the Complaint only allege infringement by Dexcom’s customers. (See Compl.

 at ¶ Ex 2, p. 1 (“This product discuss [sic] about media terminal (i.e. Sharer’s smart device) and

 media node (i.e. Follower’s smart device) . . . .”)). Thus, not only does Dexcom not have a place

 of business in this District, but there are also no alleged acts of infringement by Dexcom that

 occurred in this District.

         D.      Dexcom’s Prior Lawsuit in this District Is Irrelevant

         Rather than allege that venue is proper under TC Heartland, Plaintiff points to a prior

 irrelevant case. Specifically, Plaintiff alleges that “Venue is proper in this State and convenient as

 Dexcom has asserted its own patent rights recently in this State against one of its continuous

 glucose monitoring system competitors, named Abbott Laboratories.” (Cmplt. at ¶ 5). But merely

 filing a lawsuit in Texas does not subject a defendant to venue in every district in the state, nor

 does Plaintiff identify any law supporting such a sweeping conclusion. Indeed, “the date the suit

 was filed, is the relevant date for the venue analysis,” and “[e]vents occurring prior to the filing of

 suit are irrelevant except to the extent they could logically help prove a continuous presence” in a

 District. Pers. Audio, 280 F. Supp. 3d at 931.

         Dexcom’s prior suit with Abbott is thus irrelevant to the venue issue here and should be

 ignored. See Xiaohua Huang v. Trifecta Networks LLC, No. 21-cv-04721-TSH, 2021 U.S. Dist.

 LEXIS 141084 at *5-6 (N.D. Cal. July 28, 2021) (finding plaintiff could not establish proper venue

 under § 1400(b) by relying on factors that are relevant in a motion for a convenience transfer

 because “courts have found that a corporate defendant ‘must have more contact with [a venue]

 than simply doing business there.’”); Dekalb Genetics Corp. v. Syngenta Seeds, Inc., No.

 4:06CV01191 ERW, 2006 U.S. Dist. LEXIS 93949 at *18 (E.D. Mo. Dec. 29, 2006) (“The fact

 that Monsanto previously asserted that jurisdiction was proper over the Defendants in a previous



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 Delaware action, does not affect the question of whether venue would be proper in Delaware in

 this action”).

 V.      CONCLUSION

         For the foregoing reasons, Dexcom respectfully requests that this Court grant its motion to

 dismiss. Alternatively, Dexcom requests that the Court transfer this case to the Southern District

 of California, where it has a regular and established place of business and venue is proper.


 Dated: February 16, 2024                    FISH & RICHARDSON P.C.


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and foregoing

  document has been served on February 16, 2024, to all counsel of record who are deemed to have

  consented to electronic service via the Court’s CM/ECF system.

                                                            /s/ Aaron P. Pirouznia
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